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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 08-20574-CR-LENARD/TURNOFF


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  RALPH MERRILL,

        Defendant.
  ________________________________/

    ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE TO FILE (D.E.
  956), GRANTING DEFENDANT’S MOTION FOR IN CAMERA INSPECTION OF
    PRESENTENCE INVESTIGATION REPORTS (D.E. 956-1), AND ORDER TO
                           SHOW CAUSE

         THIS CAUSE is before the Court on Defendant Ralph Merrill’s (“Merrill”) Motion

  for Leave to File (D.E. 956) and Defendant’s Motion for in Camera Inspection of

  Presentence Investigation Reports and All Objections Thereto of Government Witnesses

  (D.E. 956-1), filed on November 16, 2010.1 On November 17, 2010, the Government filed

  its response in opposition (“Response,” D.E. 966), to which Merrill filed his reply (“Reply,”

  D.E. 976) on November 18, 2010. As stated in open court on December 2, 2010, the Court

  having reviewed the Presentence Investigation Reports pertaining to co-defendants Efraim

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                  Due to the fact that this case has been extensively litigated both prior to and
  during the first trial (through numerous motions and requests for reconsideration), the Court
  advised both sides that prior to commencing the re-trial the Parties would need to seek leave of
  the Court to file any new motions.
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  Diveroli (“Diveroli”), David Packouz (“Packouz”), and Alexander Podrizki (“Podrizki”) and

  having heard from the Government regarding the disclosures made to the defense, the Court

  finds that the Government need not produce the Presentence Investigation Reports or any

  objections pursuant to Brady v. Maryland, 373 U.S. 83 (1964).2 Nonetheless, Merrill’s

  motion requests that should his motion be denied, “at least the factual (official) offense

  version, objections thereto and drug usage as well as mental health history sections of each

  Government witnesses’ PSR be made a sealed Court Exhibit as part of the record should

  appellate proceedings be necessary.” (D.E. 956-1 at 5 n.5.) Pursuant to S.D. Fla. Local Rule

  88.8(g), “[t]he recommendation as to sentencing made to the Court by the United States

  Probation Office shall remain confidential.” Furthermore, S.D. Fla. Local Rule 88.8(h) states

  that “the PSI is a confidential document and neither the parties nor their counsel are

  authorized to duplicate or disseminate it to third parties without prior permission of the

  Court.” Accordingly, it is ORDERED AND ADJUDGED that:

                1.     Consistent with this Order, Defendant Ralph Merrill’s (“Merrill”)

                       Motion for Leave to File (D.E. 956) and Defendant’s Motion for in

                       Camera Inspection of Presentence Investigation Reports and All

                       Objections Thereto of Government Witnesses (D.E. 956-1), are

                       GRANTED to the extent that the Court has now reviewed the subject

                       Presentence Investigation Reports and has determined that production


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                The Government indicates no pertinent informal objections have been raised.

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                      to the defense is not required;

                2.    Merrill’s co-defendants Efraim Diveroli, David Packouz, and

                      Alexander Podrizki, have until December 10, 2010, to file a

                      memorandum with the Court stating their consent and/or position as to

                      whether their Presentence Investigation Reports should be sealed as a

                      Court Exhibit for appellate purposes or SHOW CAUSE why such

                      documents should not be so preserved.

          DONE AND ORDERED in Chambers at Miami, Florida this 7th day of December,

  2010.

                                                   ___________________________________
                                                   JOAN A. LENARD
                                                   UNITED STATES DISTRICT JUDGE




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